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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10   GLENN DODGION,

11                    Plaintiff,                   No. 2:09-cv-02696 KJN P

12           vs.

13   J. HARTLEY, et al.,

14                    Defendants.                  ORDER

15                                           /

16                    By order filed May 20, 2010, plaintiff was accorded thirty days within which to

17   file a civil rights complaint or an amended habeas corpus petition. (Dkt. No. 16.) The thirty day

18   period has now expired, and plaintiff has not filed either pleading or otherwise responded to the

19   court’s order.

20                    Accordingly, IT IS HEREBY ORDERED that this action is dismissed without

21   prejudice. See Local Rule 110; Fed. R. Civ. P. 41(b).

22   DATED: July 6, 2010

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24                                                 _____________________________________
                                                   KENDALL J. NEWMAN
25                                                 UNITED STATES MAGISTRATE JUDGE

26   dodg2696.ord

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